Michael Brian, OSB No. 710309
michael@brianlawfirm.com
Brian Law Firm LLC
1611 East Barnett Rd
Medford, Or 97501
Telephone: (541) 772-1334
Facsimile: (541) 770-5560
Travis Eiva, OSB No. 052440
travis@zempereiva.com
Zemper Eiva Law LLC
101 East Broadway, Ste. 303
Eugene, OR 97401
Telephone: (541)-636-7480
Facsimile: (458) 205-8658

of Attorneys for Plaintiff

                    IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF OREGON
 TRAVIS BATTEN,
                                               Case No. 3:19-cv-01200-MC
                         Plaintiff,            Consolidated with:
                                               Case No. 1:18-cv-00676-MC
 vs.
                                               PLAINTIFF’S MOTION
                                               FOR PARTIAL
 STATE FARM MUTUAL                             SUMMARY JUDGMENT
 AUTOMOBILE INSURANCE
 COMPANY,                                      Pursuant to Fed. R. Civ. P. 56(a)
                                               Request for Oral Argument
                        Defendant.


                              LR 7-1(a) CERTIFICATION

        The attorneys for plaintiff made a good faith effort through telephone calls and

email to resolve the basis for this Motion and were unable to do so.

/////



Page | 1 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                        MOTION

       Plaintiff Travis Batten respectfully moves this Court for an order granting partial

summary judgment that the uninsured (“UM”) coverage (and policy limits for such

coverage) under State Farm Policy Nos. 110 5075-C11-37A and 274 2245-A12-37E apply

to the subject motor vehicle injuries suffered by Mr. Batten.

                                   INTRODUCTION

       Travis Batten was catastrophically injured when a negligent uninsured motorist

struck a car in which he was a passenger. The motorist only had $20,000 in liability

coverage and consequently was an uninsured motorist as that term is understood in Oregon

law, see ORS 742.502 et seq. Before the accident, Mr. Batten had purchased three (3)

separate liability insurance policies from defendant State Farm, paying separate premiums

for each. Each policy had UM coverage with a $250,000 policy limit. Because Mr.

Batten’s injuries were severe, permanent, and far exceeded the liability insurance available

from the negligent driver, he sought UM benefits up to the limits on each policy, totaling

$750,000. State Farm asserted that a special clause in the policies limited Mr. Batten’s

available UM benefits to no more than the single limits of one of the policies. Thereafter,

State Farm paid the limits of one of the policies but refused to pay the limits on the

remaining two policies.

       Because Oregon Law requires that every liability policy provide UM coverage up

to the liability limits described on the policy’s declarations page, plaintiff brought this

breach of contract action to obtain the UM benefits under the remaining two policies.



Page | 2 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
Plaintiff now moves this Court for partial summary judgment that the UM benefits on the

two remaining State Farm policies are applicable to his injuries up to the combined policy

limits of $500,000. 1

                                  LEGAL STANDARD

        The court must grant summary judgment if there are no genuine issues of material

fact and the moving party is entitled to judgment as a matter of law. Fed.R.Civ.P. 56(a).

An issue of fact is genuine “if the evidence is such that a reasonable jury could return a

verdict for the nonmoving party.” Hoffman v. Foremost Signature Ins. Co., 989 F. Supp.

2d 1070, 1075, 2013 WL 5723313 (D. Or. 2013) (citing Villiarimo v. Aloha Island Air.,

Inc., 281 F.3d 1054, 1061 (9th Cir.2002), which in turn quoted Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986)). The court views the

evidence in the light most favorable to the non-moving party. Allen v. City of Los Angeles,

66 F.3d 1052, 1056 (9th Cir.1995) (citing Jesinger v. Nevada Fed. Credit Union, 24 F.3d

1127, 1130 (9th Cir.1994)). If the moving party shows that there are no genuine issues of

material fact, the nonmoving party must go beyond the pleadings and designate facts

showing an issue for trial. Celotex Corp. v. Catrett, 477 U.S. 317, 324, 106 S.Ct. 2548, 91

L.Ed.2d 265 (1986); see Fed.R.Civ.P. (56)(c).

/////

/////


1
  If this Court agrees with plaintiff that the UM coverage from each of the three policies
are available, plaintiff still must prove at trial that he has suffered sufficient damages to
receive all or some of the benefits from those policies.

Page | 3 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                           FACTS

       Travis Batten, an Oregon citizen, was a passenger in a car driven by a co-worker

while on a business trip in Louisiana. Dkt. No. 30-1 of Case No. 1:18-cv-00676-MC at

Exhibit 2, ¶ 3 (Declaration of Erickson Incorporated) and Exhibit 4, ¶4-5 (Declaration of

Collin Bowns). A negligent driver in another car drove into their lane of travel from the

opposite direction and hit their car almost head on. Mr. Batten was catastrophically injured.

       The negligent driver had the Louisiana statutory minimum applicable limits for

motor vehicle liability insurance of $20,000, Dkt. No. 30-1 of Case No. 1:18-cv-00676-

MC at Exhibit 6 (Affidavit of Louisiana Driver), which is less than Oregon’s statutory

minimum of $25,000 under ORS 806.070.              Accordingly, under Oregon law he is

considered an “uninsured motorist.” ORS 742.500(5) (defining an “uninsured” motorist

as a driver with liability limits “less than the amounts or limits prescribed for bodily injury

or death under ORS 806.070”).

       At the time of the collision, Mr. Batten held three State Farm Auto Policies (Nos.

110 5075-C11-37A, 274 2245-A12-37E, and 065 0652-F10-37C) that were in effect and

issued in Oregon.     Dkt. 14-1 Declaration of Ralph Spooner at Exhibits 1-3.             The

declarations page on each policy identifies the effective dates of each policy (policy period)

and the premiums Mr. Batten paid for coverages under each policy, including specific

premiums for UM coverage. The declarations page of each policy also indicates the limits

for liability and UM coverage at $250,000 per person/$500,000 per accident. The relevant

portions of the declarations page of each policy are shown below.



Page | 4 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
      The declarations page of Policy No. 110 5075-C11-37A, in relevant part, provides:




      .....




Exhibit 1 attached to Declaration of Travis Eiva.




Page | 5 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
      The declarations page of Policy No. 065 0652-F10-37C, in relevant part, provides:




       .....




Exhibit 2 attached to Declaration of Travis Eiva.




Page | 6 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
      The declarations page of Policy No. 274 2245-A12-37E, in relevant part, provides:




      .....




Exhibit 3 attached to Declaration of Travis Eiva.




Page | 7 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
        The insurer also placed a special clause in each policy that negated the UM coverage

and policy limits of one policy if the UM coverage and policy limits on a different State

Farm policy applied to the injuries:




Dkt. 14-1 Declaration of Ralph Spooner at Exhibit 1, p. 29; Exhibit 2, p. 29; Exhibit 3, p.

29. Under that clause, no matter the seriousness of the insured’s injuries and no matter that

the insured paid separate premiums under separate policies to have UM coverage up to the

limits described on each policy’s declarations page, the insured was only entitled to the

UM coverage and limits of one policy.

                                   LEGAL ANALYSIS

   I.      Oregon Statutes Require that State Farm Provide Travis Batten UM
           Benefits Under All Three Policies.

        The scope of UM coverage in Oregon is governed by statute.        Those statutes set

out (1) when UM coverage is mandatory, (2) the type of injuries that trigger payment




Page | 8 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
benefits under the UM coverage, and (3) the amount of UM payment benefits that must be

provided under the coverage.

       A.     When UM coverage is required.

       With regard to when UM coverage must be available: The Oregon legislature has

“mandated that all motor vehicle motor vehicle liability policies include ‘uninsured

motorist coverage.’” Mid-Century Ins. Company v. Perkins, 209 Or. App. 613, 621, 149

P.3d 265, 269 (2006) (quoting Or Laws 1967, ch 482). The mandatory inclusion of UM

coverage is currently set forth in 742.502(1), which provides that “[e]very motor vehicle

liability policy” issued for delivery in Oregon “shall provide in the policy . . . uninsured

motorist coverage.” (emphasis added). In sum, all Oregon liability policies must include

UM coverage.

       Moreover, an insurer cannot arbitrarily define the scope or limits of UM coverage

provided in the policy. Instead, the legislature passed ORS 742.504, which provides model

minimum terms of UM coverage, mandating that “[e]very policy required to provide [UM]

coverage . . . shall provide [such] coverage [that] is no less favorable” than the provisions

set forth in ORS 742.504. (Emphasis added).

       Here, plaintiff held three separate liability policies with State Farm. See also Mid-

Century, 344 Or. at 210, 179 P.3d at 641 (“policy” means the “contract between the insurer

and the insured”). Plaintiff paid separate premiums for each policy contract and entered

into each policy contract for different policy periods. Under Oregon law, each of those

policies must contain its own UM coverage that, at a minimum, provides coverage that is



Page | 9 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
as least as favorable to the insured as the scope of coverage set out by ORS 742.504.

Erickson v. Farmers Ins. Co. of Oregon, 331 Or. 681, 685, 21 P.3d 90, 93 (2001) (“Any

UM provisions that are less favorable to an insured than those required under ORS

742.504(1) to (12) are unenforceable against an insured in Oregon. However, an insurer

may add terms to an Oregon policy that are . . . more favorable to the insured than those

required by the statutes.”).

       B.     The type of injuries that trigger UM benefits.

       ORS 742.504 sets out the type of injuries that trigger benefits under the UM

coverage. That is:

       the insurer will pay all sums that the insured . . . is legally entitled to recover
       as damages from the . . . operator of an uninsured vehicle because of bodily
       injury sustained by the insured[.]

ORS 742.504(1)(a). As a result, each State Farm policy must provide UM coverage for

any injuries to the insured that are caused by a negligent driver, when that driver does not

have sufficient liability insurance to compensate the insured for those injuries.

       Here, plaintiff clearly suffered the type of injuries for which the statute mandates

UM coverage and benefits. He was injured by a negligent driver who caused him to suffer

profound losses with likely damages in the millions of dollars, but the negligent driver only

had $20,000 in liability insurance to address those injuries.

       C.     The amount of UM benefits State Farm must provide under each
              policy.

       Oregon statutes also set out the amount of money benefits that an insurer must

provide in UM coverage. Specifically, ORS 742.504(7)(a) provides that the “limit of


Page | 10 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
liability stated in the declarations . . . is the limit of the insurer’s [UM] liability.”

(emphasis added). In other words, the amount of available UM benefits tracks the policy

limits of the insured’s liability coverage as stated on the “declarations” page of the policy.

         Here, the declarations page of each liability policy indicates a liability limit of

$250,000. Declaration of Travis Eiva at Exhibits 1-3. Accordingly, State Farm must pay

up to $250,000 in benefits under the UM coverage for each policy.

         D.      Summary: A simple case under Oregon law.

         In sum, this is a simple case under Oregon law. Oregon statutes require that each

liability policy include UM coverage. ORS 742.502(1). Oregon statutes also require that

such UM coverage applies to any injuries suffered by an insured that are caused by a

negligent driver, when that driver does not have sufficient liability insurance to compensate

the insured for those injuries. ORS 742.504(1)(a). Finally, Oregon statutes require that

the amount of available UM benefits must track the policy limits of the insured’s liability

coverage as stated on the “declarations” page of the policy. ORS 742.504(7)(a).

         Plaintiff meets all of those elements. Consequently, plaintiff is entitled to up to

$750,000 in UM benefits from the three liability policies ($250,000 per policy) in effect at

the time of the accident.

   II.        Oregon Statutes prohibit State Farm from enforcing terms that negate the
              above-described UM benefits.

         As explained earlier, defendant insurer inserted a clause in the UM coverage, which,

if applied, would negate UM coverage and benefits in two of plaintiff’s policies with State

Farm. That clause sets forth that the insured is not entitled to any UM coverage or benefits


Page | 11 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
in a policy if UM benefits up to the limits have been provided on a different State Farm

policy. The provision provides:

       If Other Uninsured Motor Vehicle Coverage of Any Kind Applies

       1. If Uninsured Motor Vehicle Bodily Injury Coverage provided by this
       policy and Uninsured Motor Vehicle Coverage of any kind provided by one
       or more other vehicle policies issued to you or any resident relative by the
       State Farm Companies apply to the same bodily injury, then:

              a. such Uninsured Motor Vehicle Coverage limits of such
              policies will not be added together to determine the most that
              may be paid; and
              b. the maximum amount that may be paid from all such policies
              combined is the single highest applicable limit provided by any
              one of the polices. We may choose one or more policies from
              which to make payment.

       Because the clause renders UM coverage under the other policies illusory, it

undermines the minimum UM coverage that ORS 742.504 requires each policy to contain

UM coverage up to the limits listed in the declarations page of that policy. Therefore, the

clause is more restrictive than the statutory minimum coverage and unenforceable against

plaintiff. Erickson v. Farmers Ins. Co. of Oregon, 331 Or. 681, 685, 21 P.3d 90, 93 (2001)

(“Any UM provisions that are less favorable to an insured than those required under ORS

742.504(1) to (12) are unenforceable against an insured in Oregon. However, an insurer

may add terms to an Oregon policy that are . . . more favorable to the insured than those

required by the statutes.”).

       To be sure there are quite a few exclusionary clauses and limitations on UM benefits

recognized as appropriate in the model-minimum coverage required under ORS

742.504(1)-(12). For example, ORS 742.504(4)(a) allows the negation of UM coverage if


Page | 12 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
the insured settles with the underlying liability driver without the consent of the insurer.

ORS 742.504(4)(b) allows for the negation of UM coverage under a policy if the insured

was occupying or struck by a car that was regularly used by the insured but the insured did

not identify that vehicle in the policy. Also, ORS 742.504(d) sets forth that no UM benefits

are available for damages that have been paid for by the liability insurance of the uninsured

motorist. Likewise, ORS 742.504(7)(b) provides that no UM benefits will be provided for

damages paid for by workers’ compensation benefits. However, there is no subsection of

ORS 742.504 that allows State Farm to negate UM coverage (and the applicable limits of

that coverage) under one policy because similar coverage is also available under another

policy.

          In briefing to state courts on this issue and in its Summary Judgment Motions

recently filed in this and three other federal cases currently addressing the same issue, State

Farm has cited to several different statutory subsections as authorizing its clause negating

statutorily mandated UM coverage. For example, defendant has cited to the interplay

between ORS 742.504(2)(j)(c) and ORS 742.504(7) as one statutory basis for the negation

clause. Defendant also has cited to ORS 742.506 as another basis for the negation clause.

          Of course, to determine whether any of those subsections allow defendant to enforce

the negation clause, this court must engage in an exercise of statutory interpretation. The

Oregon Supreme Court instructs that when interpreting an Oregon statute the main goal is

to ascertain the intent of the legislature under the methodology set forth in PGE v. Bureau

of Labor and Industries, 317 Or 606, 610 12, 859 P2d 1143 (1993), as modified by State v.



Page | 13 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
Gaines, 346 Or 160, 171 72, 206 P3d 1042 (2009). A court begins by examining the

statutory text in context. Gaines, 346 Or at 171 72 (stating methodology). “[T]here is no

more persuasive evidence of the intent of the legislature than ‘the words by which the

legislature undertook to give expression to its wishes.’” Id. at 171 (quoting State ex rel

Cox v. Wilson, 277 Or 747, 750, 562 P2d 172 (1977)). Here, there is nothing in the text or

context of those statutory subsections that permit defendant’s clause to negate UM

coverage.

       A.     ORS 742.504(2)(j)(C) and ORS 742.504(7)

       ORS 742.504(2)(j)(C) and ORS 742.504(7) do not provide authority for defendant’s

negation clause. ORS 742.504(2) provides numerous operative definitions for the minimal

UM coverage required by the statute. Subsection (2)(j) defines the phrase “[s]ums that the

insured or the heirs or legal representative of the insured is legally entitled to recover as

damages” that is used in ORS 742.504(1)(a), which describes the type of losses protected

by UM coverage. See ORS 742.504(1)(a) (“the [UM] insurer will pay all sums that the

insured or the heirs or legal representative of the insured is legally entitled to recover as

damages from the owner or operator of an uninsured[/underimnsured] vehicle”).

Subsection (2)(j) defines that phrase as

       (j) . . . the amount of damages that:

              (A) A claimant could have recovered in a civil action from the
              owner or operator at the time of the injury after determination
              of fault or comparative fault and resolution of any applicable
              defenses;




Page | 14 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
              (B) Are calculated without regard to the tort claims limitations
              of ORS 30.260 (Definitions for ORS 30.260 to 30.300) to
              30.300 (ORS 30.260 to 30.300 exclusive); and

              (C) Are no larger than benefits payable under the terms of the
              policy as provided in subsection (7) of this section.

The subsection merely sets forth that UM coverage is available (1) up to the amount the

underinsured/underinsured driver could be held liable to the insured; (2) when determining

the amount the underinsured/underinsured driver could be held liable there is no

application of statutory tort caps; and (3) subject to the parameters of available benefits

described under ORS 742.504(7). The subsection is silent on the clause defendant seeks

to enforce here.

       ORS 742.504(7) provides four parameters on the UM benefits, referenced as

subsections (a)-(b), and none of those parameters allow for the availability of UM benefits

in one policy to be negated by the availability of UM benefits in another policy. For

example, subsection (7)(a) merely sets forth that the benefits are payable up to the same

amount as the liability policy limits on the declarations page:

       (a) The limit of liability stated in the declarations as applicable to “each
       person” is the limit of the insurer’s liability for all damages . . . and . . . the
       limit of liability stated in the declarations as applicable to “each accident” is
       the total limit of the company’s liability for all damages because of bodily
       injury sustained by two or more persons as the result of any one accident.

Therefore, just as plaintiff stated in the previous argument section, the amount of benefits

payable under the UM coverage tracks the amount payable under the “limit of liability

stated in the declarations” page for that policy.

       Subsection (7)(b) provides the following parameter on UM benefits:


Page | 15 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
         (b) Any amount payable under the terms of this coverage because of bodily
         injury sustained in an accident by a person who is an insured under this
         coverage shall be reduced by the amount paid and the present value of all
         amounts payable on account of the bodily injury under any workers’
         compensation law, disability benefits law or any similar law.

That subsection simply indicates that no UM benefits are available for harms that have also

been covered by workers’ compensation insurance or disability benefits laws. That section

provides no support for defendant. Indeed, the existence of this subsection cuts against

defendant. Specifically, it shows that the legislature knows how to reduce the coverage

based on the existence of other insurance. Carrigan v. State Farm, 326 Or 97, 103, 949

P2d 705 (1997) (“If the legislature desires [a particular outcome] it does not lack the

linguistic tools necessary to achieve that outcome”). Simply put, if the legislature intended

to allow insurers to limit UM coverage under one policy based on availability of UM

coverage under another policy it could have done so. But it did not.

         Subsection (7)(c) provides the following parameter on UM benefits:

         (c) Any amount payable under the terms of this coverage because of bodily
         injury sustained in an accident by a person who is an insured under this
         coverage shall be reduced by the credit given to the insurer pursuant to
         subsection (4)(d)(C) or (D)[ 2] of this section.

2
    ORS 742504(4)(d)(C-D) provides:

         (d) This coverage does not apply with respect to underinsured motorist benefits
         unless:

                ......

                (C) The insured gives credit to the insurer for the unrealized portion
                of the described liability limits as if the full limits had been received
                if less than the described limits have been offered in settlement, and
                the insurer has consented under paragraph (a) of this subsection; or


Page | 16 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
That subsection merely sets forth that no UM benefits will be provided for harms that are

compensable under the liability limits of the underinsured driver. That subsection has

nothing to do with limiting UM coverage in one policy based on the existence of UM

coverage of another policy.

       Subsection (7)(d) does not limit the UM coverage at all. It provides:

       (d) The amount payable under the terms of this coverage may not be reduced
       by the amount of liability proceeds offered, described in subsection (4)(d)(B)
       or (D) of this section, that has not been paid to the injured person. If liability
       proceeds have been offered and not paid, the amount payable under the terms
       of the coverage shall include the amount of liability limits offered but not
       accepted due to the insurer’s refusal to consent. The insured shall cooperate
       so as to permit the insurer to proceed by subrogation or assignment to
       prosecute the claim against the uninsured motorist.

That subsection only makes clear that the credit the insurer enjoys under ORS

742.504(7)(c) for any available liability policies of the underinsured driver will not apply

in some circumstances in which the insured is prevented from obtaining any money from

that liability policy. Generally, this provision applies when the liability insurance of the

negligent driver is not available because it was paid out to others injured in the car

collision or because the UM insurer refuses to provide its insured with consent to settle

the claim with the underinsured driver.




              (D) The insured gives credit to the insurer for the unrealized portion
              of the described liability limits as if the full limits had been received
              if less than the described limits have been offered in settlement and,
              if the insurer has refused consent under paragraph (a) of this
              subsection, the insured protects the insurer’s right of subrogation to
              the claim against the tortfeasor.

Page | 17 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
         Nothing in the text or context of ORS 742.504(2)(j) and ORS 742.504(7) allows an

insurance company to negate UM coverage (and the limits of that coverage) in one policy

based on the use of UM coverage and its limits in another policy. Those statutory

subsections provide no basis to enforce State Farm’s negation clause.

      B. ORS 742.506

         ORS 742.506 also does not provide authority for State Farm’s negation clause. That

statute simply provides a framework for determining which UM insurer pays first when

there are multiple, applicable UM coverages for one collision. It does not provide insurers

an opportunity to erase applicable UM coverage under one policy because of the existence

of UM coverage under another policy.

         ORS 742.506 provides:

         Notwithstanding the contrary provisions of any policy, the provisions of ORS
         742.504 (Required provisions of uninsured motorist coverage) (9) shall
         control allocation of responsibility between insurers, except that if all
         policies potentially involved expressly allocate responsibility between
         insurers, or self-insurers, without repugnancy, then the terms of the policies
         shall control.

The first part of ORS 742.506 makes clear that the allocation of responsibility between

multiple UM insurers generally is controlled by ORS 742.504(9) 3



3
    ORS 742.504(9) provides:

         (a) With respect to bodily injury to an insured:

                (A) While occupying a vehicle owned by a named insured
                under this coverage, the insurance under this coverage is
                primary.


Page | 18 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
       ORS 742.504(9) sets forth that under certain circumstances, when there are multiple

policies with UM coverage that apply to an insured’s injuries, there are rules as to which

policy pays benefits first and which policy pays benefits second. For example, subsection

(9)(a)(A) provides that if the insured is in his or her own car, then the insured’s own UM

coverage is applied to cover the losses first. To the extent that there may be an additional

policy with UM coverage that applies to those losses (for example in some cases an

employer’s liability policy also may provide UM benefits if the insured was driving his or

her own car on behalf of the employer), then the benefits of that second UM coverage

would only apply to injuries in excess of those already covered by the insured’s own policy.

Subsection (9)(a)(B) provides that if the insured is injured while in a car he or she does not

own, then the insured’s own UM coverage would only apply after all UM benefits from

the policy that insures the car have been spent. Subsection (9)(b) provides special rules for

which UM coverage is triggered first when the insured is a passenger of public

transportation or taxis.




              (B) While occupying a vehicle not owned by a named insured
              under this coverage, the insurance under this coverage shall
              apply only as excess insurance over any primary insurance
              available to the occupant that is similar to this coverage . . . [.]

       (b) With respect to bodily injury to an insured while occupying any motor
       vehicle used as a public or livery conveyance, the insurance under this
       coverage shall apply only as excess insurance over any other insurance
       available to the insured that is similar to this coverage[.]



Page | 19 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
       When none of those circumstances exist and there are multiple policies with

applicable UM coverage, for example when the insured is hit as a pedestrian, then the

Lamb-Weston doctrine applies, which requires that the UM coverage under each policy be

paid on a pro rata basis up to the respective limits of each policy. See Lamb-Weston, Inc.

v. Ore. Auto. Ins. Co., 219 Or. 110, 341 P.2d 110, reh’g den., 219 Or. 130, 346 P.2d 643

(1959) (setting out the pro rata share rule).

       The second part of ORS 742.506 does nothing more than provide insurers an

opportunity to create other sequencing rules as to which insurer pays primary and which

pays excess as long as each the terms of each applicable policy agrees with that sequencing.

ORS 742.506 in no way allows an insurer to negate UM coverage under one policy because

of the existence of UM coverage under another policy. Indeed, if this Court were to adopt

State Farm’s argument that ORS 742.506 authorizes such a provision, then State Farm

could write an even more onerous clause to negate its UM coverage even when another

insurance company has provided applicable UM coverage for the loss. The absurdity of

that position aside, the Oregon Court of Appeals has described the Lamb-Weston doctrine

as rejecting such an approach to insurance coverage:

       [I]f two or more insurers provide coverage for the same loss, and each
       attempts to limit the extent of its liability when there is other applicable
       insurance, if the respective other insurance clauses purport to limit or
       preclude coverage on the basis of the existence of other coverage, then those
       clauses are disregarded and the liability of the individual insurers is prorated
       in the ratio that their respective policy limits bear to the cumulative limit of
       all of the applicable policies.




Page | 20 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
Ind. Finishes & Systems v. Amer. Univ. Ins., 79 Or. App. 614, 616-17, 720 P.2d 382, adh’d

to as modified on recons., 80 Or. App. 743, 724 P.2d 333 (1986). State Farm simply cannot

exclude coverage paid-for under one policy based on the existence of similar coverage that

has been paid for under another policy.

                                      CONCLUSION

       For the foregoing reasons, plaintiff Travis Batten respectfully requests that this

Court grant his motion for partial summary judgment that the UM coverage under all three

Stat Farm Policies are available for plaintiff’s injuries.

DATE: January 31, 2020.



 BRIAN LAW FIRM, LLC                             ZEMPER EIVA LAW LLC



  /s/Michael Brian                               /s/Travis Eiva
 Michael Brian, OSB No. 710309                   Travis Eiva, OSB No. 052440




Page | 21 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
